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STEPHEN T. PACHECO
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STATE OF NEW MEXICO
IN THE FIRST fUDIClAL DISTRICT COURT
SANTA FE COUNTY
]OHN RICKS, NO_ D~101-CV~2015-O1347
}UDGE
Plaintiff

vs.
WESTERN FLYER EXPRESS and
ROBERT WAGNER

Defendants

PLAINTIPF’S COMPLAINT FOR NEGLIGENT OPERATION OF A MOTOR
VEHICLE and NEGLIGENCE PER SE

COMES NOW, ]OHN RICKS (hereinafter Plaintiff or ”Ricks”),

complaining of WESTERN FLYER EXPRESS (hereinafter Defendant or

”Express”) and ROBERT WAGNER (hereinafter Defendant or ”Wagner”), and

fHes this Original Complaint for Negligent Operation of a Motor Vehicle and

Negligence Per Se and for cause of action Would show as follows:

I.
PARTIES

1.1 Plaintiff, Ricks, is a resident of Brooklyn, New York.

1.2 Defendant, Western Flyer Express, is a resident of Oklahorna City,
Oklahoma. Randy Tirnms is the Vice~President and one of the owners of
Western Flyer Express. This Defendant may be served With process by

delivering a copy of Plaintiff’s Original Coinplaint to Randy Timrns through

EXhibit A

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commercial carrier service at 5204 West 1-40 Service Road, Oklahoma City,
Oklahoma 73128 as allowed by Rule 1-004 (E) (3) NMRA.

1.3 Defendant, Robert Wagner, is a resident of Tonopah, Arizona. This
Defendant may be served with process by delivering a copy of Plaintiff’s
Original Complaint to Robert Wagner through commercial carrier service at 4835

l\l'. 372“cl Ave., Tonopah, AZ 85354 as allowed by Rule 1~0()4 (E) (3) NMRA.

ll.
lURISDICTION AND VENUE

2.1 This Court has subject matter jurisdiction over this case.

2.2 Pursuant to N.l\/l.S.A. 1978, § 38~3~1(P), venue is proper in Santa Fe
County, New l\/lexico because Defendants are transient persons and non-
residents of the state of New l\/lexico.

Ill.
FACTUAL BACKGROUND

3.1 On or about january 5, 2015, Wagner was parked at a rest area west
of Deming, New Mexico. Wagner was an employee of Express and the driver of
a tractor-trailer rig owned by Express. Through electronic communication,
Express knew that Wagner was safely stopped at a rest area in New l\/lexico and
that Wagner was ill. After some period of time at the rest area, Wagner
continued his operation of the E)<press tractor~trailer. Wagner’s alertness was so
impaired by his illness and fatigue that he managed to drive his rig in a circle
and he left the rest area at the entrance for west bound traffic on interstate 10.
Wagner was travelling in his Express tractor~trailer going east bound in the west
bound lane. Wagner continued this wrong way travel for at least 10 minutes
There were approximately 10 calls to 911 reporting a yellow tractor~trailer rig

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travelling the wrong way (east bound in the west bound lanes). There was a
sheriffs deputy from Luna County, New l\/lexico travelling east bound on a
parallel road attempting to get the attention of Wagner with his lights and siren.
One trucker, David Cranston, passed the Defendant as Wagner continued his
wrong way travel. Cranston honked his horn and flashed his lights in an effort
to communicate with Wagner that he was going the wrong way. Wagner's
response was to make an obscene gesture (flipping him off) and smiling.
Cranston saw a collision in his rear view mirror and he headed for the accident
scene to help the injured.

3.2 After 10 minutes of wrong way travel, Wagner had side swiped a
pickup truck and had headed directly at Ricks who was driving a tractor and
hauling 3 other tractors. ln a heroic and self-less act, Ricks rolled his rig into the
median and saved the life of Wagner, his own and possibly others. Cranston
pulled Ricks from the wreckage and Ricks was transported by medical helicopter
to University Medical Center in El Paso, Texas. Ricks spent the next 3 weeks in
the hospital. He had a number of injuries but broken ribs and the threat of blood
clots were paramount to the doctors treating Ricks. Spinal l\/lRl’s revealed disc
injuries to Rick’s neck and back. He has been receiving conservative treatment
and has not returned to work as a result of the injuries suffered on ]anuary 5,
2015.

IV.
CAUSES OF ACTION AGAINST DEFENDANTS
4.1 All of the conduct of Wagner on ]anuary 5, 2015 was in the course

and scope of his employment as a truck driver for E)<press. Accordingly, all acts

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of negligence on the part of Wagner are imputed to Express under the doctrine of
Respondeat Superior.

4.2 The conduct of Wagner was a violation of New l\/lexico Statutes
Chapter 66-8~114 in that Wagner operated a vehicle on the highway without
giving his full time and entire attention to the operation of the vehicle. Wagner
was a careless driver on lanuary 5, 2015. Defendant Wagner failed to conduct
himself as a person using ordinary care for the safety of the person and property
of others. Furthermore, Wagner failed to conduct himself as a reasonable person
would under the same or similar circumstances 'l`his conduct amounts to
negligence and negligence per se.

4.3 49 CFR 392.3 provides that no driver shall operate a commercial
motor vehicle, and a motor carrier shall not require or permit a driver to operate
a commercial motor vehicle, while the driver’s ability or alertness is so impaired,
or so likely to become impaired, through fatigue, illness, or any other cause, as to
make it unsafe for him to begin or continue to operate the commercial motor
vehicle. Wagner and Express have both violated 49 CFR 392.3 and that conduct
constitutes negligence per se. 49 CFR 392.1 states that the motor carrier shall
instruct employees like Wagner about rules like the one contained in 49 CFR
392.3. l\lot only did E><press violate 49 CFR 392.3 but it also failed to provide
instruction for Wagner so that he would not violate 49 CFR 392.3. When Wagner
continued the operation of the Express tractor-trailer from the rest area, given his
illness and impaired alertness, Wagner failed to conduct himself as a person
using ordinary care for the safety of the person and property of others

Additionally, Wagner failed to conduct himself as a reasonable person would

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under the same or similar circumstances This conduct amounts to negligence
and negligence per se.

4.4 The foregoing acts and omissions by Defendants were acts of
negligence and negligence per se and these acts of negligence and negligence per

se have proximately caused injuries and damages to Plaintiff.

V.
DAMAGES

5.1 As a result of Defendants’ conduct, Plaintiff is entitled to recover
damages for the reasonable expenses of necessary medical care, treatment and
services received in the past and the reasonable expenses, of medical care,
treatment and services reasonably certain to be received in the future. ln
addition, Plaintiff is entitled to recover damages for mental anguish and the pain
and suffering experienced in the past and the mental anguish and pain and
suffering reasonably certain to be experienced in the future as a result of the
accident and his injuries Plaintiff has suffered economic damages because of his
inability to work. He has suffered a loss of earnings and fringe benefits in the
past and will suffer, in reasonable probability, a loss of earnings and fringe
benefits in the future. Plaintiff has suffered a loss of earning capacity. Plaintiff
has suffered physical impairment in the past and will, in reasonable probability,
suffer physical impairment in the future. All of the damages were proximately

caused by the negligence and negligence per se of the Defendants.

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Vl.
EXEMPLARY DAMAGES

6.1 The conduct of Wagner was careless and heedless. When Wagner
left the rest area, given his illness and impaired alertness, he exhibited a willful
and wanton disregard of the rights and safety of others. Wagner operated the
Express tractor-trailer in a manner so as to endanger or be likely to endanger the
motoring public and their property. Wagner engaged in this conduct without
due caution and circumspection Tlie conduct of Wagner and Express was
reckless and wanton. The Defendants showed utter indifference to or conscious
disregard for the motoring public’s and john Rick’s rights and safety. Express
failed to properly train Wagner in an area that exposed the motoring public to a
deadly risk of danger.

6.2 Plaintiff should be awarded damages to punish Wagner and
Express for their reckless behavior and to deter other truckers and trucking
companies from exposing the motoring public to such risks of danger.

VII.
PRE-IUDGMENT AND POST~lUDGMENT INTEREST
7.1 Plaintiff seeks pre-judgment and post-judgment interest as allowed

by law.

_BB_AXE.B
WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants
be cited to appear and answer herein, that this cause be set down for trial before
a jury, and that Plaintiff recover judgment of and from the Defendants for his

actual damages in such amount as the evidence may show and the jury may

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determine to be proper, exemplary damages in such amount as the evidence may
show and the jury may determine to be proper, together with pre-judgment
interest, post-judgment interest, costs of suit, and such other and further relief to

which Plaintiff may show himself to be justly entitled.

Respectfully submitted,

_/ S/ Dennis L. R.ichard

Dennis L. Richard

SBN: 4841

KENNARD ATTORNEYS AT LAW
85 N.E. LOOP 410

SUITE 603

San Antonio, TX 78216

Telephone: (210) 314-5688

Dated: june 1, 2015

Plaintiff's Original Complaint for Negligent Operation of a l\/Iotor Vehicle and Negligence Per Se
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SUMMONS
District Court: FIRST JUDICIAL Case Number: D-l 01-CV-201 5-01347
Santa Fe County, New Mexico
Court Address:

Post Of`tice Box 2268 / 225 l\/lontezurna Ave. Assigned ludge: RAYMOND ORTIZ
Santa Fe, New Mexico 87504 / 87501
Court Telephone No.: 505-455-8250

 

Plaintift`(s): JOHN RICKS Defendant ROBERT WAGNER
Narne: ROBERT WAGNER

v. Address; 4835 N. 372ND AvENUE

Defendant(s): WESTERN FLYER EXPRESS TONOPAH, ARIZONA 85354

and ROBERT WAGNER

 

 

 

 

TO THE ABOVE NAMED DEFENDANT(S): Take notice that

1. A lawsuit has been filed against you. A copy ot` the lawsuit is attached The Court issued
this Surnmons.
2. You must respond to this lawsuit in Writing. You must file your written response with the

Court no later than thirty (3 0) days from the date you are served with this Surnmons. (The date you
are considered served with the Summons is determined by Rule 1-004 lNi\/IRA) The Court’s address
is listed above

3. You must file (in person or by mail) your written response with the Court. When you file
your response, you must give or mail a copy to the person who signed the lawsuit

4. lt` you do not respond in writing, the Court may enter judgment against you as requested in
the lawsuit

5. You are entitled to a jury trial in most types of lawsuits To ask for a jury trial, you must
request one in writing and pay a jury fee

6. lf` you need an interpreter, you must ask for one in writing

7. You may wish to consult a lawyer You may contact the State Bar of New Mexico for help

finding a lawyer at www.nmbar.org; 1-800-876-6657; or 1-505-797-6066.
Dated at Santa Fe, New Mexico, this 3rd day of June, 2015.

“WH§\N,ACW.X) ____/S/ Dennis L. Richard____
runs sr ins i)::~:'rsicn~;antzr Signature of Attomey for Plaintitt`/Pro Se Party
~ Narne;Dennis L. Richard
Address: 85 N.E. Loop 410, Suite 603, San Antonio,
Texas 78216
Telephone No.: 210-314-5688
Fax No.: 210-314-5687
Email Address: DENNIS.RICHARD
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STEPHEN T. P/-\CHECC
|\/lichelle Garcia

STATE OF NEW MEXICO
ll\l THE FlRST IUDICIAL DISTRICT COURT
SANTA FE COUNTY
]OHN RICKS, NO. D-lOl-CV-2015-01347
]UDGE: RAYMOND ORTIZ
Plaintiff
vs.

WESTERN FLYER EXPRESS and
ROBERT WAGNER

Defendants

CERTIFICATE OF SERVICE

 

COMES NOW lohn Ricks, Plaintiff, by and through his attorney, Dennis L.
Richard, and hereby certifies that Plaintiff’s Complaint for Negligent Operation of a
l\/lotor Vehicle and l\legligence Per Se was served upon Defendant Western Flyer
Express by Pederal Express commercial courier service along with one copy of the
Summons and jury Demand. Proof of service by Federal Express is attached to this
pleading

Respectfully submitted,

__/ S/ Dennis L. Richard

Dennis L. Richard

SBN: 4841

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Dated: june 5, 2015

